                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN


WILLIAM FEEHAN,

               Plaintiff,

      v.                                      Case No. 20-CV-1771

WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARK L.
THOMSEN, MARGE BOSTELMAN, JULIE
M. GLANCEY, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS, in
his official capacity,

               Defendants.


        DEFENDANTS WISCONSIN ELECTIONS COMMISSION
   AND ITS MEMBERS’ REPLY IN SUPPORT OF MOTION TO DISMISS



                                 INTRODUCTION

      This lawsuit is the Wisconsin version of cookie-cutter litigation that has been

brought in multiple district courts in different states in an effort to overturn the

outcome of the November 2020 presidential election and disregard the will of the

electorate. It makes wild and anonymous claims about a Venezuelan election

conspiracy in an attempt to spread generalized and speculative doubt about the

Wisconsin election. Plaintiff’s unfortunate attempt in Wisconsin fails as a matter of

law, just as other plaintiff’s attempts are uniformly failing across the country, and

this case should be dismissed.




           Case 2:20-cv-01771-PP Filed 12/09/20 Page 1 of 16 Document 77
      Earlier this week two other district courts rejected essentially identical cases

for reasons that are applicable here. First, the Eastern District of Michigan denied

preliminary injunctive relief in King v. Whitmer, No. 20-13134, 2020 WL 7134198,

*3–13. (E.D. MI. December 7, 2020). That case was filed by the same lead attorneys

as here and included the same federal legal theories and allegations of problems with

voting machines. In its ruling, the court rejected the same arguments that the

Plaintiff makes here. King, 2020 WL 7134198 at *1. The court found that the case

failed on the Eleventh Amendment, mootness, laches, abstention, and standing.

Id. at *3–13.

      Of particular note, the court found that the alleged federal claims rested on

state-law issues, implicating the Eleventh Amendment. Id. at *3–5. The court

observed that what the plaintiffs were really requesting was an order to ignore the

outcome of the election. Id. at *5–6. Laches barred the claim because the plaintiffs

waited until after the election and the vote certification to file a claim. Id. at *6–7.

      The court rejected the plaintiffs’ standing arguments based on equal protection

because “Plaintiffs’ alleged injury does not entitle them to seek their requested

remedy because the harm of having one’s vote invalidated or diluted is not remedied

by denying millions of others their right to vote.” Id. at *9 (emphasis in original). And

it held that the plaintiffs had no standing under the Elections and Electors Clauses

because such claims belong to state legislatures, if anyone. Id. at *10–11.

      Finally, the court found that the plaintiffs had no likelihood of success on the

merits. Alleged deviations from state law do not state a claim for violations of the




                                            2
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 2 of 16 Document 77
Elections or Electors Clauses. Id. at *11–12. On the widespread fraud theory, it held

that “[w]ith nothing but speculation and conjecture that votes for President Trump

were destroyed, discarded or switched to votes for Vice President Biden, Plaintiffs’

equal protection claim fails.” Id. at *13.

      The district court in Michigan closed its decision with a poignant comment that

applies here as well:

      this lawsuit seems to be less about achieving the relief Plaintiffs seek—
      as much of that relief is beyond the power of this Court—and more about
      the impact of their allegations on People’s faith in the democratic
      process and their trust in our government. Plaintiffs ask this Court to
      ignore the orderly statutory scheme established to challenge elections
      and to ignore the will of millions of voters. This, the Court cannot, and
      will not, do.

      The People have spoken.

Id.

      Second, the Northern District of Georgia dismissed the case of Pearson et al v.

Kemp et al., No. 20-cv-04809-TCB (N.D. GA. December 7, 2020.) That was another

case by the same lead attorneys making similar claims. (Pearson Dkt. 1.) Only a

minute entry is docketed for the dismissal, but media has reported on the oral ruling

from the court.1 During the ruling, the court explained that “these types of cases are

not properly before federal courts. These are state elections.”2       On laches, and

particularly regarding the allegations about voting machines, the court explained


      1  Nicole Carr, Federal judge dismisses Sidney Powell lawsuit seeking to decertify
Georgia’s        elections,     WSB-TV2,         (Dec.       7,      2020        6:57pm)
https://www.wsbtv.com/news/local/federal-judge-dismisses-sidney-powell-lawsuit-seeking-
decertify-georgias-elections/N7Z5MDKYRJAIZKCPQAXXEEP35Q/

      2   Id.

                                             3
          Case 2:20-cv-01771-PP Filed 12/09/20 Page 3 of 16 Document 77
that “[t]his suit could have been filed months ago at the time these machines were

adopted.” Instead, the court noted, “the plaintiffs waited until over three weeks after

the election to file the suit.”3

       Just as in Michigan and Georgia, this lawsuit fails and should be dismissed.

Defendants Wisconsin Elections Commission and its member (“the Commission”)

explained in its opening brief that Plaintiff’s claims are not justiciable under the

doctrines of standing, laches, and Eleventh Amendment immunity, and his Amended

Complaint fails to plead any plausible federal claim for which relief can be granted.

(Dkt. 54.) In response, Plaintiff repeats his same string of allegations about a wide-

ranging global conspiracy. He argues the untenable position that every supposed

misapplication of state election law violates the Elections and Electors Clauses, the

Equal Protection Clause, and the Due Process Clause—a view that conflicts with both

decades of precedent and the Constitution’s commitment of the times, places, and

manner of holding elections to the States.

       Plaintiff’s response to the Commission’s justiciability arguments are equally

unavailing. Even as an elector to Donald Trump, Plaintiff lacks standing and suffers

nothing different than a generalized harm. His attempts to cloak state law violations

as federal claims cannot shield him from the Eleventh Amendment’s bar. And waiting

until your candidate loses to bring claims that materialized months, if not decades,

before the November 3 election does not survive laches. Lastly, his proposed remedy

disenfranchising the votes of hundreds of thousands of Wisconsinites is unlawful and



       3   Id.

                                             4
           Case 2:20-cv-01771-PP Filed 12/09/20 Page 4 of 16 Document 77
violates due process. Nothing in Plaintiff’s response sufficiently challenges the

Commission’s arguments, and the Amended Complaint should be dismissed.

                                       ARGUMENT

I.     This case is nonjusticiable because Plaintiff lacks standing.

       Plaintiff’s status as a voter and nominated presidential elector does not create

rights reserved to state legislatures or support federal standing for claims of

generalized election irregularities.

       A.     Plaintiff has no standing for a claim under the Elections or
              Electors Clauses.

       The Elections and Electors Clauses of the U.S. Constitution give rights to “the

Legislature” of each state for conducing elections and directing the selection of

presidential electors. U.S. Const. art. I, § 4, cl. 1; U.S. Const. art. II, § 1, cl. 2. Rights

under those clauses belong, therefore, to state legislatures, as courts have routinely

held. See, e.g., Lance v. Coffman, 549 U.S. 437, 442 (2007) (holding individuals lacked

Article III standing to bring claim under the Elections Clause); Bognet v. Sec’y of the

Comm. of Pennsylvania, No. 20-3214, 2020 WL 6686120, *6–7 (3d Cir., Nov. 13, 2020)

(same); Hotze v. Hollins, No. 4:20-cv-03709, 2020 WL 6437668, at *2 (S.D. Tex. Nov.

2, 2020) (holding candidate lacked standing under Elections Clause and concluding

that Supreme Court’s cases “stand for the proposition that only the state legislature

(or a majority of the members thereof) have standing to assert a violation of the

Elections Clause”). Plaintiff has no standing for a claim under those clauses.

       Plaintiff relies exclusively on one case, Carson, for his contrary argument.

(Dkt. 72:14 (citing Carson v. Simon, 978 F.3d 1051 (8th Cir. 2020) .) That case does


                                              5
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 5 of 16 Document 77
not even mention the Elections Clause. To the extent it found standing under the

Electors Clause, it is a lone outlier, has no precedential value in this circuit, and is

wrongly decided. The only two decisions that cite Carson, from the Third Circuit and

the Eastern District of Michigan, do not follow it. Bognet, 2020 WL 6686120, *8 n.6

(noting   departure   from    Carson);   King    v.   Whitmer,   No.    CV   20-13134,

2020 WL 7134198, at *11 (E.D. Mich. Dec. 7, 2020) (“This Court, however, is as

unconvinced about the majority’s holding in Carson as the dissent.”). Carson has

never been adopted in the Seventh Circuit and should be unpersuaded by this Court.

      Plaintiff’s reliance on his status as a nominated elector is unpersuasive. As the

dissent in Carson noted, nominated presidential electors are entirely derivative of the

actual candidate and “[w]hether they ultimately assume the office of elector depends

entirely on the outcome of the state popular vote for president.” Carson, 978 F.3d

at 1063. Indeed, under Wisconsin law, an elector has no discretion in what candidate

to vote for or anything other than a ministerial job of delivering the outcome of the

election. See Wis. Stat. § 7.75 (presidential elector “shall” vote by ballot for the

persona or party who nominated them). Plaintiff Feehan’s argument that his

interests “are identical to that of President Trump” is meritless; Plaintiff was not

running for President. (Dkt. 72:21.) And the person who was running for that office

is conspicuously absent from this case. Simply put, “[e]lectors are not candidates for

public office as that term is commonly understood.” Carson, 978 F.3d at 1063.

      Plaintiff here has no injury related to the Elections or Electors Clauses.




                                           6
          Case 2:20-cv-01771-PP Filed 12/09/20 Page 6 of 16 Document 77
      B.     Plaintiff has no standing for a claim under due process or equal
             protection.

      For reasons explained in the opening briefs, Plaintiff has no standing for a

vote-dilution-theory constitutional claim. Generally, vote dilution occurs in

apportionment or districting situations that improperly apportion population or

representation. Plaintiff’s alleged vote-counting violations are not federal vote

dilution claims—they are garden-variety election disputes that do not implicate the

constitution. (See Dkt. 54:11–15); Shipley v. Chi. Bd. of Election Comm’rs,

947 F.3d 1056, 1062 (7th Cir. 2020) (“A violation of state law does not state a claim

under § 1983, and, more specifically, ‘a deliberate violation of state election laws by

state election officials does not transgress against the Constitution.’” (citation

omitted)); see also Donald J. Trump for President, Inc. v. Boockvar, No. 20-CV-966,

2020 WL 5997680, *46 (W.D. Pa. Oct. 10, 2020) (“[I]t is well-established that even

violations of state election laws by state officials, let alone violations by unidentified

third parties, do not give rise to federal constitutional claims except in unusual

circumstances.”).

      In briefing, Plaintiff retreats from the vote-dilution theory in his Amended

Complaint. (Dkt. 72:19.) Instead, he claims that Defendants “sought to actively

disenfranchise” certain voters in violation of the one person, one vote, doctrine.

(Dkt. 72:20.) This is remarkable considering that “disenfranchise” does not appear a

single time in his Amended Complaint, and his requested relief is to literally

disenfranchise hundreds of thousands of people and reverse the outcome of the

election. In any event, he has no “one person one vote” standing.



                                            7
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 7 of 16 Document 77
      Plaintiff cites four cases for this novel disenfranchisement theory. (Dkt. 72:20.)

Two are apportionment cases and one is a redistricting case, none of which have any

applicability here. Baker v. Carr, 369 U.S. 186 (1962); (considering a 1901

apportioning the members of the General Assembly); Reynolds v. Sims, 377 U.S. 533

(1964) (considering Alabama legislative apportionment); Whitford v. Nichol,

151 F. Supp. 3d 918, 926 (W.D. Wis. 2015) (challenging the 2012 districting plan for

the Wisconsin Assembly). Remarkably, the fourth is a case where claims alleging

electronic vote-counting irregularities was dismissed as not rising to the level of a

constitutional claim. Bodine v. Elkhart Cty. Election Bd., 788 F.2d 1270, 1272 (7th

Cir. 1986). Bodine cautioned that “If every state election irregularity were considered

a federal constitutional deprivation, federal courts would adjudicate every state

election dispute, and the elaborate state election contest procedures, designed to

assure speedy and orderly disposition of the multitudinous questions that may arise

in the electoral process, would be superseded by a section 1983 gloss.” Id. (quoting

Gamza v. Aguirre, 619 F.2d 449, 453 (5th Cir. 1980)) . This binding decision, and its

warning, forecloses Plaintiff’s claims here.

II.   The Eleventh Amendment bars Plaintiff’s claims.

      Plaintiff argues that the Eleventh Amendment is not a bar because he is

raising only federal claims and seeking prospective relief. (Dkt. 72:26.) This is a

straw-man argument because Plaintiff’s claims are based entirely on violations of

state law.




                                           8
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 8 of 16 Document 77
      Plaintiff’ cannot escape the Eleventh Amendment by cloaking his state law

claims in federal garb. See, Balsam v. Sec’y of State, 607 F. App’x 177, 183–84 (3d Cir.

2015) (finding Eleventh Amendment bars state law claims even when “premised on

violations of the federal Constitution”); Massey v. Coon, No. 87-3768, 1989 WL 884,

at *2 (9th Cir. Jan. 3, 1989) (affirming dismissal where “on its face the complaint

states a claim under the due process and equal protection clauses of the Constitution,

[but] these constitutional claims are entirely based on the failure of defendants to

conform to state law”).

      Indeed, the introductory paragraph of Plaintiff’s complaint expressly alleges

“multiple violations of Wisconsin Statutes Chapters 5 – 12.” (Dkt. 9:1.) He goes on to

allege widespread fraud based on the “Defendants directing Wisconsin clerks and

other election officials to ignore or violate the express requirements of the Wisconsin

Election Code.” (Dkt. 9 ¶ 14.) Plaintiff’s Elections and Electors Clause claim is based

entirely on “three separate instances where Defendants violated the Wisconsin

Election Code” (Dkt. 9 ¶¶ 104–06); his Equal Protection Clause claim rests on how

“Defendants failed to comply with the requirements of the Wisconsin Election Code”

(Dkt. 9 ¶ 116); and his due process claim relies on “Defendants[’] violation of the

Wisconsin Election Code” (Dkt. 9 ¶ 129). His reliance on state law violations is echoed

in his requested relief, where he seeks a declaration that “absentee ballot fraud

occurred in violation of . . . Election laws and under state law.” (Dkt. 9:49.) Plaintiff

cannot camouflage these state law claims as federal violations simply to evade the

Eleventh Amendment bar.




                                           9
         Case 2:20-cv-01771-PP Filed 12/09/20 Page 9 of 16 Document 77
       Further, it is not enough to escape the Eleventh Amendment that Plaintiff asks

for prospective relief. (See Dkt. 72:26–27.) The Eleventh Amendment prohibits

federal courts from granting “relief against state officials on the basis of state law,

whether prospective or retroactive.” Pennhurst State Sch. & Hosp. v. Halderman,

465 U.S. 89, 106 (1984) (emphasis added); see also, Puerto Rico Aqueduct & Sewer

Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993) (“[t]he doctrine of Ex parte

Young . . . has no application in suits against the States and their agencies, which are

barred regardless of the relief sought”); Peirick v. Ind. Univ.-Purdue Univ.

Indianapolis Athletics Dept., 510 F.3d 681, 696 (7th Cir. 2007) (Eleventh Amendment

bars plaintiff’s claim, “even [ ] her claims for prospective injunctive relief”).

       The Commission—comprised of its members, as pled here—is a state entity

that has not consented to suit under § 1983; nor has Congress abrogated the State of

Wisconsin’s Eleventh Amendment immunity. See, Will v. Mich. Dep’t of State Police,

491 U.S. 58, 66 (1989); Joseph v. Bd. of Regents of Univ. of Wis. Sys., 432 F.3d 746,

748 (7th Cir. 2005). Plaintiff cannot masquerade his state law claims as a federal

§ 1983 action. Plaintiff’s claims are, thus, barred by the Eleventh Amendment.

III.   Laches bars this case.

       Plaintiff’s primary arguments against laches are (1) the application of laches

is frequently fact-specific, and (2) he did not unreasonably delay in bringing this

action. (Dkt. 72:22–23.) Neither argument is convincing.

       First, courts can and do dismiss claims due to laches based on the pleadings or

before trial, particularly when it is clear from the face of the complaint that laches



                                            10
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 10 of 16 Document 77
applies. See, e.g., King, 2020 WL 7134198 at *7 (“The Court concludes that Plaintiffs’

delay results in their claims being barred by laches.”); Aguila Mgmt. LLC v. Int’l Fruit

Genetics, LLC, No. CV-19-00173-PHX-DJH, 2020 WL 736303, at *3 (D. Ariz. Feb. 13,

2020) (Humetewa, J.) (noting that “[c]ourts in this district have previously applied

laches in a motion to dismiss” because “where the elements of laches are apparent on

the face of a complaint, it may be asserted on a motion to dismiss” (citation omitted));

Solow Bldg. Co., LLC v. Nine West Group, Inc., No. 00 Civ. 7685(DC), 2001 WL

736794, at *3 (S.D.N.Y. June 29, 2001) (granting motion to dismiss based on laches,

noting “When the defense of laches is clear on the face of the complaint, and where

it is clear that the plaintiff can prove no set of facts to avoid the insuperable bar, a

court may consider the defense on a motion to dismiss.”) (citation omitted).

      Second, Plaintiff’s unreasonable delay in bringing this action is evident from

the pleadings. He bases the claims related to election machines and software on

“expert and fact witness” reports discussing “glitches” and other alleged

vulnerabilities that occurred as far back as 2006. (See Dkt. 9 ¶ 88(A)–(H)). And

Plaintiff’s alleged injuries from the Commission’s guidance on absentee ballot

certification and indefinite confinement arose—and were ripe for challenge—long

before the November 3, 2020 election. The basis of Plaintiff’s claims regarding these

issues is the Commission’s guidance that was issued on October 18, 2016 (absentee

ballot certification), May 13, 2020 (indefinite confinement), and October 19, 2020

(curing absentee ballot certification envelopes). (See Dkt. 9 ¶¶ 40, 44–45, 104–105.)

If Plaintiff had legitimate concerns about the election machines and software, or the




                                          11
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 11 of 16 Document 77
Commission’s guidance regarding absentee ballot and indefinite confinement status,

he could have filed this lawsuit well before the November 3 election—yet he sat back

and did nothing.

      In his brief, Plaintiff argues that his delay was justified because “all of the

unlawful conduct occurred during the course of the election and in the post-election

vote counting, manipulation, and even fabrication.” (Dkt. 72:22.) If this were the case,

then Plaintiff fails to state a claim against any defendant in this case, since neither

the Commission nor the Governor took part in any “post-election vote counting.”

Regardless, statements in Plaintiff’s brief cannot change the allegations in his

complaint, see Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1107 (7th Cir.

1984) (“it is axiomatic that the complaint may not be amended by the briefs in

opposition to a motion to dismiss”), which clearly outline claims stemming back

months, if not decades. Given this, Plaintiff cannot overcome the doctrine of laches,

which plainly bars the relief he seeks.

IV.   Plaintiff has failed to state a claim for widespread fraud.

      Plaintiff has not pled a plausible claim for fraud and falls short of the Rule 9(b)

“particularity” requirement. Fed. R. Civ. P. 9(b). His allegations, even as

supplemented by his briefing, do not connect his conspiracy theory involving foreign

oligarchs and dictators, and a voting system called “Smartmatic,” with any alleged

mis-counted votes in Wisconsin. (Dkt. 9 ¶¶ 7–8; 9-1 ¶¶ 13–20.) Generally alleging a

Venezuelan plot to reelect Hugo Chavez and speculating about conversations

overheard in Colorado does not state a plausible claim for fraud. (See Dkt. 9 ¶¶ 8, 97.)




                                          12
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 12 of 16 Document 77
       The Commission’s opening brief detailed the absurdities underlying his factual

allegations, including secret witnesses, Google research, and statistical analysis that

would not even pass basics evidentiary reliability standards. (Dkt. 54:17–22.)

Plaintiff says nothing in response. He makes no attempt to defend his facially

implausible factual underpinnings and implausible theory. Instead, he claims that

his factual bases are “unrebutted.” (Dkt. 72:3.) This claim is wrong, but also misses

the mark. This is briefing on a motion to dismiss, not summary judgment. Whether

evidence has been factually rebutted is not at issue. The question is whether his

claims are plausible and pled with particularity, which they are not.

       He also ignores that his completely speculative theory about voting matching

mis-counting is disproven by the publicly-available results of a hand-counted audit of

election machines in Wisconsin. (See Dkt. 52:2–4.)4 Over 140,000 ballots were hand

counted and checked against voting machine results, including 28 Dominion

machines, and no voting equipment issues were found. Likewise, a recount of Dane

and Milwaukee counties did not materially change the vote tallies, which belies any

speculation that election-day results were remotely manipulated. Lastly, Dominion

has publicly responded these specific allegations, further demonstrating the




       4Memorandum from Meagan Wolfe, Administrator of Wis. Elections Comm’n., to Wis.
Elections Comm’n. (Dec. 1, 2020), https://elections.wi.gov/sites/elections.wi.gov/files/2020-
12/2020%20Audit%20Program%20Update%20for%2012_1_2020%20Meeting%20FINAL.pdf


                                             13
           Case 2:20-cv-01771-PP Filed 12/09/20 Page 13 of 16 Document 77
baselessness of Plaintiff’s voter fraud claim. 5 Plaintiff offers no response, and his

contrasting conspiracy theories fail plausibility and common sense.

V.    The remedy the Plaintiff seeks is unlawful.

      The Commission’s brief in support of dismissal pointed out that this lawsuit

fails in its premise because the relief that Plaintiff requests is unlawful. (Dkt. 54:22.)

Plaintiff asks to disenfranchise hundreds of thousands of Wisconsinites who properly

voted under election procedures that were in place for the November 2020 election.

That retroactive disenfranchisement would violate voters’ due process rights.

Plaintiff offers no response. This lawsuit plainly cannot proceed.

      Once a state legislature has directed that the state’s electors are to be

appointed by popular election, the people’s “right to vote as the legislature has

prescribed is fundamental.” Bush v. Gore, 531 U.S. 98, 104 (2000) (per curiam).

Conducting an election under procedures, and then changing those procedures in a

way that disenfranchises voters violates due process. Bennett v. Yoshina, 140 F.3d

1218, 1227 (9th Cir. 1998) (“a court will strike down an election on substantive due

process grounds if two elements are present: (1) likely reliance by voters on an

established election procedure and/or official pronouncements about what the

procedure will be in the coming election; and (2) significant disenfranchisement that

results from a change in the election procedures.”)




      5  See Dominion Voting, Statement from Dominion on Sidney Powell’s Charges,
https://www.dominionvoting.com/dominion-statement-on-sidney-powell-charges/. (Nov.
26, 2020).



                                           14
          Case 2:20-cv-01771-PP Filed 12/09/20 Page 14 of 16 Document 77
      And yet, that is exactly what Plaintiff asks here. The November election was

held after months of careful preparation and public announcement of election

procedures. Nearly 3.3 million Wisconsin voters casted their ballots.6 Plaintiff did not

challenge any of those procedures, or any of the voting equipment before the election.

But, after the votes have been counted and certified, and the outcome is known, he

wants to throw out those votes and reverse the outcome. Due process does not permit

retroactively changing the election rules to reverse the will of the electorate.

                                    CONCLUSION

      Defendants Wisconsin Elections Commission and its members request that

this case be dismissed.

      Dated this 9th day of December, 2020.

                                         Respectfully submitted,

                                         JOSHUA L. KAUL
                                         Attorney General of Wisconsin

                                         Electronically signed by:

                                         s/S. Michael Murphy
                                         S. MICHAEL MURPHY
                                         Assistant Attorney General
                                         State Bar #1078149

                                         JODY J. SCHMELZER
                                         Assistant Attorney General
                                         State Bar #1027796




6Wisconsin Elections Commission, WEC Canvass Reporting System County by County
Report, 2020 General Election, Nov. 3, 2020,
https://elections.wi.gov/sites/elections.wi.gov/files/Statewide%20Results%20All%20Offices%
20%28pre-Presidential%20recount%29.pdf (Nov. 18, 2020).


                                           15
        Case 2:20-cv-01771-PP Filed 12/09/20 Page 15 of 16 Document 77
                                   COLIN T. ROTH
                                   Assistant Attorney General
                                   State Bar #1103985

                                   Attorneys for Defendants Wisconsin
                                   Elections Commission and its members

Wisconsin Department of Justice
Post Office Box 7857
Madison, Wisconsin 53707-7857
(608) 266-5457 (Murphy)
(608) 266-3094 (Schmelzer)
(608) 264-6219 (Roth)
(608) 294-2907 (Fax)
murphysm@doj.state.wi.us
schmelzerjj@doj.state.wi.us
rothct@doj.state.wi.us




                                    16
       Case 2:20-cv-01771-PP Filed 12/09/20 Page 16 of 16 Document 77
